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Technical Memorandum

To: Jeff Deville - Watertown Municipal Utilities

From: Steve Burian, PE Viet L J elasncns ne
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Richard Wagner, PE Chad Mf F Zz
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Re: Analysis of Sioux Rural Water Capacity to Serve West Side and East Side
Date: August 12, 2016
Introduction

Advanced Engineering and Environmental Services, Inc. (AE2S) has been retained by
Watertown Municipal Utilities (WMU) as an expert consultant to review the Watertown Service
Area Report (WSAR), prepared by DGR Engineering for the Sioux Rural Water (SRW) System
dated February 2016. This technical memorandum (TM) is a summary of the AE2S review and
includes an evaluation of the SRW System capacity to serve areas to the east and west of the City
of Watertown.

References

AE2S was provided a copy of the WSAR from WMU. The WSAR includes a five page
overview of the SRW system, including background information, the Watertown service area,
and a summary of the Sioux Water Treatment Plant (WTP). In addition, the WSAR includes a
resume for Darin Schriever, PE in Appendix A, a preliminary engineering report for the Sioux
Rural Water System in Appendix B, a preliminary engineering report addendum in Appendix C,
proposed distribution improvements in Appendix D, and hydraulic modeling results in Appendix
E.

Additional information was also provided by WMU, including historical water usage, building
water service pipe size, and date of connection to WMU for specific users. This information is
shown within this TM. WMU also provided information on the current city limits of Watertown
which is labeled as Attachment No. 1. Attachment No. 2 and Attachment No. 3 are enlarged
maps showing the West Side and the East Side, respectively, which reference the same areas as

 

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RE: Analysis of Sioux Rural Water Capacity to Serve West Side and East Side
Date: August 12, 2016

the WSAR. Finally, the location of the individual users that are listed in Appendix E of the
WSAR are shown on Attachment No. 4 and Attachment No. 5 which correspond to the West
Side and East Side, respectively.

SRW System Overview

The SRW System reportedly serves approximately 1,435 users with two WTPs. One of the two
WTPs is located near Castlewood, SD referred to as the Castlewood WTP, and the second is
located 8.5 miles north of Castlewood, SD referred to as the Sioux WTP. The WSAR provides
historical data on water demands with data from 2012 being the highest. The 2014 data was
reported to have been higher, but this data was not available within the WSAR. The SRW
System demand information for the area served by the Sioux WTP is summarized in Table 1 —
SRW System Demand Summary and shows the average and peak day demands based on varying
factors and in different units. Further discussion on these capacities is included within this TM,
but for this initial evaluation of the capacity of system components a flow rate of 750 gallons per
minute (gpm) will be used for the Castlewood WTP and flow rates of 400 gpm and 455 gpm will
be used for the Sioux WTP. These two values, 400 gpm and 455 gpm, represent typical Sioux
WTP operations per the WSAR and the peak day demand, respectively. In addition,
Recommended Standards for Water Works (10 States Standards) indicates that water sources and
treatment facilities shall be designed for maximum day demand at the design year. In this case,
the 600,000 gallons per day peak day demand was considered as the benchmark to gauge system
capacities.

Table 1 — SRW System Demand Summary
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Average Day 350,000 | gallons/day | Per WSAR
Peak Day 600,000 | gallons/day | Approximation, per Figure 4 WSAR
Peak Day a ai 3
(24 hour day) 417 gpm Approximation, per Figure 4 WSAR
Approximation, per Figure 4 WSAR; per 10 States
Peak Day : : :
455 gpm Standards, capacity shall be designed for maximum
(22 hour day)
day demand.
Peak Day

550,000 | gallons/day | Approximation, per Figure 4 WSAR

 

 

 

(3-day Rolling Average)

 

 

Capacity Of SRW System Components

The SRW System is generally comprised of water supply wells, raw water transmission, water
treatment, and distribution which includes reservoirs, pump stations, pipelines, water towers, etc.
AE2S reviewed the information provided within the WSAR from a technical capacity standpoint
and has summarized the findings in the following sections. It should also be noted that AE2S did

 

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not have access to additional information regarding the SRW System so is only relying on the
information within the WSAR. As such, it was assumed that SRW System pipes, pump stations,
equipment, and appurtenances have been properly maintained and are in proper working order.

Water Supply Capacity

The water source for the SRW System consists of a series of wells located west of Castlewood,
SD within the Big Sioux Aquifer. The well field consists of six ground water wells that
reportedly have a total combined capacity of 1,830 gallons per minute (gpm). Firm capacity,
which is defined as the total combined capacity with the largest well out of service, is
approximately 1,385 gpm. This firm capacity is sufficient to feed the two WTPs, which
reportedly have a combined design capacity of 1,150 gpm (750 gpm and 400 gpm). Historical
peak day demand from 2012 was also mentioned within Appendix B of the WSAR as being
1,400 gpm with 900 gpm dedicated to the Castlewood WTP and 500 gpm dedicated to the Sioux
WTP. This combined flow rate exceeds the firm capacity of the well field and also exceeds the
treatment capacity of the Sioux WTP discussed in subsequent sections.

Raw Water Transmission Capacity

The SRW System raw water wells are located adjacent to the Castlewood WTP. No information
was provided on the raw water transmission pipelines between the well field and the Castlewood
WTP. The raw water transmission pipeline between the aquifer and the Sioux WTP is listed as a
10-inch diameter pipe, approximately 8.5 miles in length. The pipe material and condition were
not noted within the WSAR, but are assumed to be appropriate and in adequate condition. Per
Advanced Water Distribution Modeling and Management (2003), transmission pipelines are
typically sized to limit velocity to less than 3 feet per second (ft/sec) to limit head loss through
the pipe. Ata flow rate of 400 gpm or 455 gpm to the Sioux WTP, the flows through a nominal
10-inch pipe result in a velocity of approximately 1.6 ft/sec and 1.9 ft/sec, respectively. Both
velocities are below the recommended maximum transmission pipeline velocity of 3 ft/sec. A
10-inch pipeline flowing at 3 ft/sec would convey a flow of approximately 750 gpm.

Water Treatment Capacity

The SRW System operates two WTPs per the WSAR and as noted previously, the Castlewood
WTP and the Sioux WTP. Both WTPs are iron and manganese removal plants, both constructed
in 1991, and have similar treatment processes. The processes of both WTPs consist of aeration,
detention, and filtration. The Sioux WTP is the focus of this evaluation as this WTP treats and
provides water to the northern portion of the SRW System which includes the East Side and
West Side areas around the City of Watertown. Refer to Attachment No. 1 for the approximate
location of these areas.

 

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Per the WSAR, the Sioux WTP is indicated to have a range of flow capacities, generally referred
to as the hydraulic capacity and the treatment capacity. The hydraulic capacity is the flow rate of
water that can flow through the WTP without overflowing any process within the WIP. The
treatment capacity is the flow rate that can flow through the WTP while achieving the finished
water quality objectives. The hydraulic capacity and treatment capacity of the Sioux WTP are
listed in the WSAR to be 600 gpm and 400 gpm, respectively. The hydraulic capacity is likely
the original design flow rate of the WIP which was used to size the pipes, equipment, and
appurtenances. The resulting treatment capacity is the flow through the WTP based on the most
limiting component of the WTP. In this case, it appears the limiting factor is the finished water
quality, specifically manganese which is referenced in the WSAR overview. A flow rate of 450
gpm was mentioned as the flow rate in which an increase in manganese levels in the finished
water begins to become an issue, typically black water problems. The concentration of the
manganese levels at this flow rate is not indicated, but is assumed to be greater than the SRW
System treatment objectives. It should be noted that manganese is a secondary water quality
parameter which is a guideline for water quality objectives and is not an enforceable primary
drinking water standard. Parameters, like manganese, are referred to as secondary maximum
contaminant levels (SMCL) and generally relate to aesthetics such as taste, color, and odor,
which do not pose a health risk.

As the raw water from the wells enters the WTP, the first water treatment process is a single
aerator. This aerator is indicated to be a 5-foot by 5-foot induced draft aerator with a capacity of
750 gpm, or 30 gpm per square foot (gpm/ft’). Per 10 States Standards, the recommended
loading rate for an induced draft aerator is 1 to 5 gpm/ft’ of total tray area. It is unknown how
many trays are present in the aerator, but assuming 10 States Standards are followed, a minimum
of six trays would be necessary to reduce the 30 gpm/ft’ loading rate to 5 gpm/ft’.

The Sioux WTP is also listed to include two detention basins following the aerator with
capacities of 13,300 gallons and 20,700 gallons, for a combined capacity of 34,000 gallons. The
specific dimensions and configuration of these two basins are not provided, and it is not noted if
baffles are located within these basins. For the purpose of this TM, it is assumed that the
detention basins are baffled, which would promote adequate circulation of the water within the
basin to allow for oxidation of the iron and manganese. The AWWA Guidance Manual for
Compliance with the Filtration and Disinfection Requirements for Public Water System using
Surface Water Sources provides a basis for evaluating the effectiveness of baffling and assigns a
baffling coefficient to how well the basin is baffled. It is assumed that these basins have an
average baffle system and thus are assigned a 0.5 baffling coefficient. Based on the 34,000
gallon capacity, 400 gpm flow rate, and a 0.5 baffling coefficient, the effective detention basin
capacity is 43 minutes compared to 30 minutes as recommended by 10 States Standards. Higher
flow through the WTP would lower the detention time, but assuming a baffle coefficient of 0.5, a
total basin volume of 34,000 gallon, and 30 minute detention time per 10 State Standards, the
WTP detention basins have a flow capacity of 567 gpm.

 

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Following the detention basins are two gravity filters. Each filter is 10 feet by 10 feet in size,
resulting in a combined filtration area of 200 square feet (ft”). No information was provided on
specific filter equipment or media material. Per 10 States Standards, the typical filtration rate for
rapid rate gravity filters is 2 to 4 gpm/ft’ with approval by the governing authority. For effective
manganese removal, the lower end of this range is typically advisable. The WSAR indicates that
the WTP filters can treat 400 gpm while achieving their finished water quality objectives, which
results in a loading rate of 2 gpm/ft”. The WSAR also indicates that a flow rate of 450 gpm (2.25
gpm/ft’) results in an increase in manganese levels in the finished water.

10 States Standards indicates that when only two filters are provided, each filter shall be sized to
meet the WTP design flowrate, which is typically the maximum day demand, at the specified
filter loading rate. Based on this criteria, the Sioux WTP capacity would be dictated by the
capacity of a single 10 ft by 10 ft filter (100 ft”). Loading rates of 2 gpm/ft? to 2.25 gpm/ft”
would result in a filtration capacity range of 200 gpm to 225 gpm based on the 10 States
Standards guidelines.

Finished Water Storage Capacity

The SRW System has 13 finished water storage tanks located throughout the service area per
Table 6 of the WSAR. Four of these storage tanks are located within the Sioux WTP distribution
area and have a combined capacity of 468,000 gallons. Per 10 States Standards, the minimum
storage capacity for systems not providing fire protection flows should be equal to the average
daily demand. The average daily demand for the Sioux WTP service area is reported to be
approximately 350,000 gallons which is less than the available storage of 468,000. Thus,
sufficient storage appears to currently be in place as long as fire protection is not necessary.

Finished Water Distribution Capacity

The Sioux WTP treats and supplies water to the north and northeast portions of the rural water
system including the East Side and West Side areas around the City of Watertown, SD. DGR
Engineering utilized a computer hydraulic model, KY Pipe, to predict distribution system flows
and pressures for this portion of the SRW System. The modeling results of this effort are
included in Appendix E of the WSAR. Interpretation of the hydraulic model results are fairly
limited herein due to minimal information available on the parameters used within the model.
The following section discusses general items that may need to be considered or be investigated
further to determine the true capacity and adequacy of the distribution system. Furthermore, the
hydraulic model section discusses the distribution system pressures and flows based on specific
system scenarios.

The SRW System also has multiple pump stations throughout its distribution system which are
utilized to transfer water from the Sioux WTP to subsequent pumps stations, reservoirs, or users.
Minimal information was provided on the details or capacity of this infrastructure, but it was
noted in the WSAR that it has become difficult to convey water to the north near the City of

 

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Watertown. Based on the write-up in Appendix B of the WSAR, various pump improvement
scenarios have been conceptualized to address the water conveyance challenges.

Water Demand and Supply

The WSAR provides historical water usage for the Sioux WTP on Figure 4 of Appendix A. This
figure indicates that during the months of March and July of 2012, daily water demand
approached or exceeded 600,000 gallons per day. The three day moving averages for these
periods are approximately 550,000 gallon per day for this period. These values were obtained
from the graph on Figure 4, which result in an approximate values. The WSAR overview also
indicates that more recent data from the spring of 2014 was used within the hydraulic model as
this water demand was higher than in 2012. The 2014 values were not provided within the
WSAR. Thus, the 2012 data was used for this TM.

Based on the WTP treatment capacity discussion above, the actual water production can vary
depending on the available run times each day and the flow rate through the WTP, which also
dictates the finished water quality. Based on the information provided in the WSAR, a 400 gpm
flow rate produces water that meets their finished water quality objectives. Increasing this flow
rate to 450 gpm, results in manganese breakthrough in the filters. Table 2 — Sioux WTP
Capacity Ranges shows the various water production volumes based on these two flow rate
variables and operation durations of 20, 22, and 24 hours.

Table 2 — Sioux WTP Capacity Ranges

(gpm) (hours) (gallons)
480,000
528,000

400
400
400
450
450
450

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576,000
540,000
594,000
648,000

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Using the 2012 peak day demands (2014 data is not available) of >600,000 gallons and the 2012
three day average of 550,000 and comparing these thresholds to Table 1, the Sioux WTP would
need to operate at 400 gpm close to 24 hours a day for three days straight to keep up with
demand, with storage depletion required to meet the peak day. This operational strategy leaves
minimal time for backwashing and no maintenance. Operating the WTP at 450 gpm would
require operating both filters about 22 hours per day with some storage depletion which does
allow a few hours for backwashing but also reportedly produces water that has elevated
manganese, which is aesthetically objectionable.

 

 

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Hydraulic Model

The hydraulic model was setup and run by DGR Engineering based on a number of inputs that
were described in the WSAR. One item that was initially questioned by AE2S during this
review was the actual water usage and how quickly the water was needed by the various users.
The average historic system wide water usage is reported to be approximately 4,700 gallons per
connection per month (g/c/m). The hydraulic model, however, was reportedly run with an
average monthly usage of 5,500 g/c/m to provide a factor of safety. The water demand diversity
curve used for this modeling effort was not noted, but is assumed to vary depending on the
number of users on each pipeline branch. The water demand diversity curve typically provides a
decreasing water consumption factor as the number of users increase. This diversity curve
allows long pipeline branches with many users to be modeled with a lower water consumption
factor per user, but as the pipeline branch shortens and fewer users are present on the pipeline, a
higher water consumption factor is utilized. This method allows rural water system pipes to be
reasonably sized to meet minimum pressures during high demand periods but also reduces the
potential for over-sized pipes. The results of the SRW System hydraulic model are included in
Appendix E of the WSAR. The 5,500 g/c/m is likely adequate for a portion of the domestic
users identified in Appendix E of the WSAR, but commercial users may need to be modeled
with a greater water demand to reflect their actual usage and other hydraulic requirements.

Map 1 of Appendix E shows the location of the West Side area which is circled with a yellow
highlighter. This circled area includes approximately 29 nodes on the existing rural water
system pipeline showing the resulting water pressure under assumed peak demand with no
improvements completed. Of these 29 nodes, only 8 of the nodes show a pressure being greater
than 20 pounds per square inch (psi) which is the minimum allowable distribution pressure per
10 States Standards. The remaining 21 nodes are less than 20 psi with 6 of these nodes being
less than zero psi. Based on these modeling results, it appears that there is inadequate
distribution capacity to add additional users to the West Side without distribution system
improvements. There may be potential to add a few users in locations of adequate pressure, but
this will likely result in a decrease of pressure for other users downstream.

Map 10 of Appendix E shows the location of the East Side area which is also circled with a
yellow highlighter. The 13 East Side users identified in Appendix E are located within this
circled area although multiple other users, currently served by WMU, are also within this area,
but have not been considered within the WSAR. This circled East Side area includes
approximately 8 nodes on the existing rural water system pipeline. These 8 nodes range in
pressure from 74 psi to 135 psi, well above the 20 psi recommended by 10 States Standards.
Map 17 appears to be modeling the 13 additional users currently served by Watertown Municipal
Utilites, along with pipeline improvements to reach these users. The modeling pressure results
on Map 17 appear to be minimally impacted by these additional users although the impact to the
existing system beyond this area is unknown. As stated in the WSAR, this area was modeled
using a 5,500 g/c/m, while WMU has indicated that some of these 13 users have a higher water

 

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consumption history than 5,500 g/c/m. Table 3 — Historical Annual Water Usage shows the total
water use per year along with the average monthly water usage for each of these users.

Table 3 — Historical Annual Water Usage

  

          

 

 

 

 

 

 

 

 

 

 

 

 

 

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2013 2014 2015 2013 2014 2015
Big Shot Fireworks NA NA 748 NA NA 62*
Cross Country Couriers NA NA 15,708 NA NA 1,309*
Dakota Automation 132,396 48,620 47,872 11,033 4,052 3,989
Fed Ex 32,164 25,432 29,920 2,680 2,119 2,493
Randy Hartley 59,840 60,588 54,604 4,987 5,049 4,550
Watertown Truck & Trailer 86,020 84,524 118,932 7,168 7,044 9,911
Lew’s Fireworks 17,204 20,196 21,692 1,434 1,683 1,808
McFleegs 32,912 48,620 23,188 2,743 4,052 1,932
Rising Star 364,276 448,052 423,368 | 30,356 37,338 35,281
Jim Aesoph — Car Wash NA NA 748 NA NA 62*
Jim Aesoph 8,976 10,472 7,480 748* 873* 623*
Wheelco 13,464 47,124 63,580 1,122 3,927 5,298
Wayne Weelborg 110,704 190,956 61,336 9,225 9,163 5,111

 

 

 

 

 

* Values may not reflect true monthly usage due to intermittent water use (i.c. seasonal variability)

As can be seen in Table 3, the 5,500 g/c/m average monthly assumption appears to initially be
adequate for all of these users except two, Watertown Truck and Trailer and Rising Star.
Recognizing that some of these users consist of unique businesses that have irregular water
demand from one month to the next, however, further investigation into their water usage is
necessary. Table 4— Peak Monthly Water Usage was prepared to indicate the month each user
used the most water and also show the magnitude of their usage. This table shows the month
that had the highest water usage for years 2013, 2014, and 2015.

 

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Table 4 — Peak Monthly Water Usage

  
  

   
 

 

    
   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Peak Usage —- Peak Usage | Peak Usage

' Month (gal) | Month (gal) Month (gal)

Big Shot Fireworks NA NA NA NA Dec 748
Cross Country Couriers NA NA NA NA Aug 11,968
Dakota Automation Aug 35,156 Aug 5,236 Multiple 4,488
Fed Ex July 2,992 Multiple 2,992 June 5,236
Randy Hartley April 5,984 Multiple 5,984 May 5,984
Watertown Truck & Trailer Dec 31,416 Jan 14,212 Dec 12,716
Lew’s Fireworks July 4,488 July 3,740 July 4,488
McFleegs June 17,952 April 11,220 May 6,732
Rising Star Sept 71,808 Aug 92,752 July 90,508

Jim Aesoph — Car Wash NA NA NA NA Oct 748
Jim Aesoph NA NA Sept 2,244 Jan 1,496
Wheelco Multiple 1,496 Mar 14,212 May 24,684
Wayne Weelborg Jan 24,684 Sept 16,456 Feb 5,984

 

 

 

 

 

The breakdown shown in Table 4 indicates that seven of the 13 users had peak months that were
in excess of the 5,500 g/c/m value used in the hydraulic model. This peak month usage was
likely accounted for in the hydraulic model as a peak month usage of 15,850 g/c/m was
approximated based on the WSAR data. Two users are still in excess of this peak monthly
usage, but it is unclear how it may affect the overall SRW distribution system performance
during peak usage periods. Further modeling with specific user water consumption data may be
prudent to gauge the overall impact to the SRW System.

In review of the information provided by WMU, it was noted that these 13 users currently have
water service pipeline sizes that range from 1-inch to 8-inch in diameter. Table 5 — Water
Service Pipeline Size shows the line size for each of the East Side users. The SRW System is
proposing to install a new pipeline to serve these users as shown on Map 13 of Appendix E of
the WSAR. The diameter of this pipe is not noted, but SRW does have a 6-inch pipe in the
general area of these East Side users. As shown in Table 5, one user, Fed Ex, has an 8-inch
diameter service pipeline which is larger than the existing SRW pipe. Another user, Big Shot
Fireworks, has a 6-inch diameter service pipe which would be equivalent in size to the existing
SRW pipe. Additionaly, multiple other users have 4-inch and 2-inch service pipes, which are
larger than the typical rural water customer and have the potential to be a high volume user. In
consideration of the service pipe diameters, additional modeling for these users may be necessary
as the large service pipes may be an indication of a need for high instantaneous water flows.

 

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Table 5 — Water Service Pipeline Size

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June, 2016
Dec, 2010
Sept, 2000
Dec, 2012
Oct, 1992
Oct, 2000
Nov, 2009
Nov, 2004
Novy, 1999
Noy, 2014
Feb, 2006
May, 2007
Noy, 2001

Big Shot Fireworks
Cross Country Couriers
Dakota Automation

Fed Ex

Randy Hartley
Watertown Truck & Trailer
Lew’s Fireworks
McFleegs

Rising Star

Jim Aesoph — Car Wash
Jim Aesoph

Wheelco

Wayne Weelborg

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One potential reason for the larger water service pipes is the need for fire flow which is one
potential high instantaneous water demand scenario. WMU indicated that Fed Ex and Big Shot
Fireworks both have a sprinkler system within their buildings, although further investigation was
not completed to determine the fire flows that these systems were designed for. In addition, fire
flow requirements vary from one community to the next as these standards are typically
addressed at the policy level within each community or by insurance providers. Insurance
providers are specifically interested in fire flows as they provide a valuable public service by
reducing loss of human life and property and also improve insurance ratings within the
community.

Multiple methods are available to determine fire flow requirements, but the ISO method is the
most common method used which describes the rate of flow considered necessary to control a
major fire within a specific structure. This method was derived as a tool for use by the insurance
industry in establishing fire insurance rates for individual properties based on the community’s
fire defenses. The results calculated using this method are generally consistent with alternative
methods, although slightly higher due in part to the fact that the ISO method accounts for the
need to protect adjacent buildings as well.

 

 

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ISO utilizes the Fire Suppression Rating Schedule manual for reviewing the fire-fighting
capabilities of individual communities. The schedule measures the major elements of a
community’s fire-suppression system and develops a numerical grading called a Public
Protection Classification. ISO assigns a Public Protection Classification from 1 to 10. Class 1
represents the best protection, and Class 10 indicates no recognized protection. Ten percent of
the overall grading is based on how well the fire department receives fire alarms and dispatches
its fire-fighting resources. Fifty percent is based on the number of fire engine companies and the
amount of water a community requires to fight a fire. ISO reviews the distribution of fire engine
companies throughout the area and checks that the fire department tests its pumps regularly and
inventories each fire engine company’s nozzles, hoses, breathing apparatus, and other
equipment. Forty percent of the grading is based on the community’s water supply. This part of
the survey focuses on whether the community has sufficient water supply for fire suppression
beyond daily maximum consumption. To determine the rate of flow the water mains provide,
ISO observes fire-flow tests at representative locations in the community. Depending on the
location of a structure and zoning area and the predicted fire demand for that zone, the structure
may be required to have a sprinkler system or means of providing additional fire flow to the
structure either through water main or storage improvements.

As indicated above, fire flows may have a significant impact on business operations of the users
and on their insurability. These fire flows will need to be determined and factored into the SRW
model to determine SRW’s capacity to serve the noted additional users.

Conclusion

WMU retained AE2S as an expert consultant to complete a technical evaluation of the capacity
of a portion of the SRW System. Table 6 -SRW System Demand Summary is a summary of the
reported water demands for the Sioux WTP, and Table 7 - SRW Capacity Summary indicates
the current capacity of various SRW System components with comparison to the estimated
required capacity.

Table 6 -SRW System Demand Summary

 
 

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Average Day 350,000 | gallons/day | Per WSAR

 

 

 

 

 

 

Peak Day 600,000 | gallons/day | Approximation, per Figure 4 WSAR
Peak Day oe ‘
(24 hour day) 417 gpm Approximation, per Figure 4 WSAR

Approximation, per Figure 4 WSAR; per 10 States
Peak Day ; . ‘

455 gpm Standards, capacity shall be designed for maximum

(22 hour day)

day demand.
Peak Day

550,000 | gallons/day | Approximation, per Figure 4 WSAR

 

 

 

(3-day Rolling Average)

 

 

 

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Exhibit A
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Technical Memorandum
RE: Analysis of Sioux Rural Water Capacity to Serve West Side and East Side
Date: August 12, 2016

  
 

Table 7—SRW Capacity Summary

re are TEST

Capacity Status

 
 

 
 

. Capacity nhs

  

 

 

 

 

 

Component
Water Supply
Wells
Total Capacity 1,830 gpm Serves both WTPs
Capacity Appears Adequate; 455 gpm required at
Firm Capacity 1,358 gpm the Sioux WTP, 750 gpm reportedly required at the
Castlewood WTP
Raw Water
Transmission 750 ents Capacity Appears Adequate; exceeds maximum day
Pipeline (3 ft/s demand of 455 gpm per 10 States Standards
Velocity Assumed)
Sioux WTP

 

Capacity Appears Adequate; exceeds maximum day
Aerator 750 gpm demand of 455 gpm per 10 States Standards,
although lacks redundancy

 

Detention Basins

(30 minutes with Capacity Appears Adequate; exceeds maximum day

 

 

 

 

0.5 baffle 67 épm demand of 455 gpm per 10 States Standards
coefficient)
i 9
Filters (2 filtess, : Capacity Appears Deficient; unable to meet
gpm/ft2 loading .
maximum day demand of 455 gpm per 10 States
rate, manganese 400 gpm .
Standards; two filter design does not meet 10 States
break through
. Standards
point)
Capacity Ranges (20
to 24 hours per day of
operation)
480.000 to Capacity Appears Deficient; unable to achieve
400 gpm ; gallons/day | maximum day demand of 600,000 per 10 States
576,000
Standards
Capacity Appears Deficient; exceeds filter loading
540,000 to
450 gpm 648.000 gallons/day | rate of 400 gpm (manganese breakthrough per

WSAR, may lack sufficient backwash time)
Finished Water Capacity Appears Adequate; greater than average
Storage 468,000 gallons day demand per 10 States Standards

 

 

 

 

 

 

 

 

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Exhibit A
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Technical Memorandum
RE: Analysis of Sioux Rural Water Capacity to Serve West Side and East Side
Date: August 12, 2016

Table 7— SRW Capacity Summary (continued)

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Component

Water Distribution

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Capacity Status

 
   

  

Capacity —_ Units

     

  

 

Domestic Demands

 

Capacity Appears Deficient; existing users (without new
West Side 5,500 g/c/m | users) experience pressures less than 10 States Standards
20 psi minimum pressure recommendation

 

Acceptability of Capacity is Unknown; unique water
East Side 5,500 g/c/m | users are located within this area, further modeling is
required at actual required flow rates

 

Fire Flow Demands

 

Capacity Appears Deficient; existing system modeling

 

t Sid ? . .
Wiest Eiue Spm | results indicate pressures less than zero psi.
Acceptability of Capacity is Unknown; additional
East Side 9 am modeling is required to determine available fire flow;

service lines approaching, matching, or exceeding the
SRW distribution pipe size suggest likely challenges

 

 

 

 

 

 

A water system is comprised of numerous components all working together to provide water to
its customers. The total capacity of any system is equal to its most limiting component. As
shown in Table 7 — SRW Capacity Summary, it appears that the most limiting component of the
water supply system is the filtration capacity, which appears to be inadequate to meet peak day
demands and is not designed to 10 States Standards. This limitation leaves the portion of the
SRW System served by the Sioux WTP with no capacity for additional users. The limiting
components of the water distribution system on the West Side appear to be inadequate pressure
which affects both domestic flows and fire flows. These limitations also leave this portion of the
SRW System with no capacity for additional users. The East Side may also be limited by
domestic flows and fire flows. Based on existing data available in the WSAR and used by DGR
Engineering and AE2S, additional modeling is necessary to provide an opinion regarding the
adequacy of flows to serve additional customers on the East Side.

 

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Exhibit A
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Steve L. Burian, PE

Chief Executive Officer

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EXPERIENCE

Mr. Burian is one of two founders of Advanced Engineering and
Environmental Services, Inc. (AE2S). Founded in 1991, AE2S has
focused on waiter from the beginning. With over 25 years of
engineering experience, Steve is passionate about the advancement
of water infrastructure in the Upper Midwest and ensuring safe
quality water across the region.

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Mr. Burian’s project management and project engineering
experience for water and wastewater systems includes coordination
and completion of concept planning, master planning, facility
planning, capital improvement planning, funding development, rate
studies, regulatory interface, public presentation and interface,
cultural/environmental resource compliance, water supply planning
and permitting, wastewater discharge permitting, drinking water
regulatory evaluation and research coordination, pilot and plant
scale studies, process design, construction administration and
observation, operations consultation, and program management.

EDUCATION

Master of Engineering, Civil
Engineering with Environmental
Emphasis, University of North Dakota
(1992)

Bachelor of Science, Civil Engineering,
University of North Dakota (1990)

REGISTRATIONS

Professional Engineer: South Dakota,
North Dakota, Minnesota, Montana,
Wyoming

CONTACT
Steve.Burian@ae2s.com
T: 701-746-8087

C: 701-740-4881

 

Over the past 25 years, Mr. Burian has been the principal-in-

charge for hundreds of water system projects for both rural water
systems and municipalities. His experience includes both ground
water and surface water, supply, treatment, pumping, distribution,
and controls systems. Among these projects includes the largest
regional water system being developed in North Dakota estimated
to cost over $1 Billion, the Red River Valley Water Supply Project.

In addition, Mr. Burian has been an integral part of developing the
Western Area Water Supply Project, a regional water system in the
western portion of North Dakota to supply water for the extreme
population growth and associated development from the production
of oil in the Bakken Shale Formation. His role included creation

of a business plan, funding development, legislative support and
testifying before State Legislators, various financial support services,
and management of the design and construction of water treatment
plant, storage, pumping, pipeline, and related infrastructure.

Mr. Burian has also historically served in various consulting roles for
numerous adjacent rural water systems and municipalities working to
address territorial service issues and optimize regionalization.

Exhibit A
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Richard Wagner DE assesseeeeee. +SARAOSADSENDE SASSARSSAOoeree bee

Assistant Operations Manager

EXPERIENCE

Mr. Wagner's experience includes a variety of projects in the water
field relating to municipal and rural systems. He has provided project
management, planning, design, and construction administration on
intakes, raw water pump stations, wells, water treatment facilities,
high service pump stations, water transmission and distribution
systems, and water storage reservoirs.

Mr. Wagner's experience in a variety of roles for over a hundred
water system projects gives him a comprehensive understanding of
water system infrastructure and operations. Over the past 15 years,
Richard has worked on numerous rural water systems across the
upper midwest. He has extensive experience in working with rural
communities from planning and funding to start-up and operations.

Mr. Wagner has been the project manager for multiple rural water
systems including the expansion of a large rural water system

in southeast North Dakota. The major improvements project
included the assessment of the existing water supply, treatment,
and distribution system, possibilities for expansion of service to
new users, development of solutions to quality and regulatory
issues, expansion of the well field, construction of new raw water
transmission pipeline, and design and construction of a new 2.3
MGD water treatment plant expansion at a total project cost of $21
Million.

Exhibit A

 

EDUCATION
Bachelor of Science, Civil Engineering
University of North Dakota (2000)

REGISTRATIONS/CERTIFICATIONS
Professional Engineer: South Dakota,
North Dakota, Minnesota, lowa

CONTACT

Richard Wagner@ae2s.com
Tel: 218-299-5610

Fax: 218-299-5611

 
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August 12, 2016

Jack H. Hieb, Attorney at Law

Richardson, Wyly, Wise, Sauck & Hieb, LLP
One Court St

Aberdeen, SD 57402-1030

RE: Analysis of Sioux Rural Water Capacity to Serve West Side and East Side
Disclosures and Statement of Compensation

Dear Mr. Hieb:

Steve L. Burian and Richard A. Wagner have not had any articles published in any professional
publications in the past 10 years.

Steve L. Burian and Richard A. Wagner have not served as an expert witness either by deposition
or at trial in the past 4 years.

Steve L. Burian and Richard A. Wagner are being compensated for their work on this project at
their standard billing rates of $225 per hour and $179 per hour, respectively.

Should you have any questions or need additional information, please feel free to contact Steve at
(701) 746-8087 or Richard at (218) 299-5610.

Sincerely,
AE2S Yj MLL
Steve L. Burian Richard A. Wagner’

Advanced Engineering and Environmental Services, Inc.
3161 South Frontage Avad ° Moorhead, MN 56560 © [t) 218-259-5610 » [#) 218-299-5871
Exhibit A 21
